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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


                                              §
UNITED STATES OF AMERICA,
                                              §
        Plaintiff,                            §
                                              § Cr. No. 4:21cr 009 GCH
   v.                                         §
                                              §
ROBERT T. BROCKMAN,                           §
        Defendant.                            §
                                              §
                                              §


                     DECLARATION OF SPECIAL AGENT TED LAIR

      I, Ted Lair, declare the following under penalty of perjury, pursuant to 28 U.S.C.
§ 1746:

   1. I have been a Special Agent with the Internal Revenue Service Criminal
        Investigation (IRS-CI) since June of 2000. My duties and responsibilities include
        the investigation of possible criminal violations of the Internal Revenue laws
        under Title 26, United States Code, and related offenses, including but not limited
        to, violations of Title 31, Bank Secrecy Act or Currency Crimes; and Title 18,
        Money Laundering Statutes, based upon certain Specified Unlawful Acts (SUA),
        as defined under Title 18 USC § 1961 and Forfeiture. I am a CPA licensed in the
        state of Nevada. I was previously employed as an auditor and tax accountant for a
        national public accounting firm for approximately three years and as a controller
        for a private real estate development company for approximately six years.
   2. My experience includes numerous investigations of individuals, partnerships,
        corporations, and trusts. Many of these investigations focused on individuals
        deriving income from illegal activities such as bank fraud, securities fraud,
        mortgage fraud, embezzlement, credit card fraud, mail/wire fraud, narcotics
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   trafficking, false claims, abusive trust schemes, money laundering and filing false
   income tax returns.
3. In or about February 2016 I was assigned to the grand jury investigation of Robert
   F. Smith, Carlos Kepke, and Robert Brockman (“Defendant”) in the Northern
   District of California. The defendant Robert Brockman was indicted on October
   1, 2020 (3:20cr371 WHA). On January 4, 2021, the case was transferred to the
   Southern District of Texas (4:21cr009 GCH).
4. My responsibilities in the Brockman investigation included reviewing documents
   provided by Evatt Tamine to the prosecution team.
5. Through my investigation, I determined that Tangarra Consultants Limited is a
   Bermuda based entity founded by Evatt Tamine in Bermuda for the purpose of
   Evatt Tamine working for Robert Brockman in Bermuda, and is an integral part of
   the Robert Brockman foreign trust/corporate structure. I am not aware of any
   property owned or held by Tangarra within the United States.
6. Further, through my investigation, I determined that in or about January 2009,
   Evatt Tamine, working for Robert Brockman, and at his direction, opened an
   account with Deutsche Bank in the name Edge Capital Investments for the purpose
   of purchasing the debt of Reynolds & Reynolds on the secondary market. Evatt
   Tamine informed individuals at Deutsche Bank that the fund manager for Edge
   Capital investments was Tangarra Consultants Limited. Accordingly to
   employees of Deutsche Bank, at no time did Evatt Tamine inform anyone at
   Deutsche Bank that: 1) he was Robert Brockman’s employee; 2) he was acting for
   Robert Brockman; or 3) he was purchasing Reynolds & Reynolds debt at Robert
   Brockman’s direction.
7. I have reviewed the documents cited by the attached opposition. With the
   exception of the affidavit of Evatt Tamine, all of the exhibits cited, specifically all
   of the exhibits with an “ET” bates prefix were provided to the government by
   Evatt Tamine.
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   8. I am aware that Evatt Tamine or his attorneys maintained a copy of all of the
      documents Evatt Tamine provided to the government containing the “ET” bates
      prefix.



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Dated: August 09, 2021
       Denver, Colorado



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                                               Special Agent Ted Lair, IRS-CI
